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                                                                         December 1, 2022

          VIA CM/ECF

                                 Re:          RiseandShine Corp. v. PepsiCo, Inc., 1:21-cv-6324 (LGS)

         Dear Judge Schofield:

                Pursuant to Section I.G. of the Court’s Individual Practices in Civil Cases (“Individual
         Rules”), Defendant PepsiCo, Inc. (“PepsiCo”) respectfully submits this letter motion to maintain
         under seal Rise Brewing’s Letter Motion on its intention to file a Motion to Strike the Declaration
         of Thomas Britven (“Brief”) as well as the attached excerpts from the Declaration of Thomas
         Britven (Dkt. 381, redacted version at Dkt. 386) (“Britven Declaration), the May 20, 2022 Report
         of Thomas Britven (“Britven Report”) and the July 18, 2022 Deposition of Thomas Britven
         (“Britven Deposition”).

                 The redacted information in the Brief, the Britven Declaration, the Britven Report and the
         Britven Deposition describe and cite to documents that PepsiCo has designated with one of the
         confidentiality designations under the Protective Order, and the exhibits were designated with one
         of the confidentiality designations under the Protective Order.

                 Legal Standard: While federal courts recognize a general common law right of public
         access to court records and proceedings, the right of access is not absolute and courts have
         discretion to deny such public access where appropriate. Nixon v. Warner Commc’ns, Inc., 435
         U.S. 589, 597-99 (1978)). “To determine whether documents should be placed under seal, a court
         must balance the public’s interest in access to judicial documents against the privacy interests of
         those resisting disclosure.” In re Utica Mut. Ins. Co. v. INA Reinsurance Co., 468 F. App’x 37, 39
         (2d Cir. 2012) (citing Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119-20 (2d Cir. 2006)).

                  Court documents may be sealed to avert “[p]otential damage from the release of sensitive
         business information” and protect from the disclosure of information that may harm a business’s
         ability to compete in the future. Bergen Brunswig Corp. v. Ivax Corp., No. 97 Civ. 2003, 1998 WL
         113976, at *3 (S.D.N.Y. Mar. 12, 1998) (collecting cases); Standard v. Fin. Indus. Regulatory
         Auth., Ind., 347 F. App’x 615, 617 (2d Cir. 2009) (affirming district court’s sealing on grounds
         that the party’s “interest in protecting confidential business information outweighs the qualified
         First Amendment presumption of public access”).

                Sealing Justification: The materials sought to be sealed describe and cite to information
         about the financial performance of PepsiCo’s Mtn Dew Rise Energy product, which PepsiCo has
         designated as OUTSIDE ATTORNEYS’ EYES ONLY. More specifically:




Austin   Bay Area   Beijing   Boston   Brussels   Chicago   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   Paris   Salt Lake City   Shanghai   Washington, D.C.
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       •   RBC’s letter brief (Dkt. 393) discusses the methodologies employed to calculate
           PepsiCo’s profit/loss data for Mtn Dew Rise Energy and PepsiCo’s expert’s
           testimony thereon;

       •   Exhibit 1 (Dkt. 393-1) includes a full revenue accounting for PepsiCo’s Mtn Dew
           Rise Energy and discussions of the costs included in PepsiCo’s profit/loss accounting;
           and

       •   Exhibit 2 (Dkt. 393-2) discusses the costs included in PepsiCo’s profit/loss
           accounting, PepsiCo’s accounting practices, and methodologies employed to calculate
           those numbers.

       This information is properly sealed because it is highly sensitive information which risks
causing PepsiCo harm if made known to PepsiCo’s competitors. PepsiCo does not publicly report
information of this type and ordinarily keeps it confidential given its competitive sensitivity. Louis
Vuitton Malletier S.A. v. Sunny Merch. Corp., 97 F. Supp. 3d 485, 511 (S.D.N.Y. 2015) (allowing
information relating to financial performance to be filed under seal). Sensitive financial
information of this nature is properly filed under seal. Id.

         A list of counsel who should be granted access to the sealed material is listed in
Appendix 1. PepsiCo has served the letter on Plaintiff’s counsel via ECF contemporaneously with
this filing.


                                                              Sincerely

                                                               s/ Lauren J. Schweitzer

                                                              Lauren J. Schweitzer
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                           Appendix 1: List of Parties and Counsel

All counsel of record may have access to the filings:

Counsel for Plaintiff RiseandShine Corporation, doing business as Rise Brewing

       Jason Demian Rosenberg
       Christopher Louis McArdle
       Emily Chambers Welch
       Holly Hawkins Saporito
       Neal Joseph McLaughlin
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